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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7   UNITED STATES OF AMERICA,

 8                                Plaintiff,             CASE NO. CR 15-386-JLR

 9          v.
                                                         DETENTION ORDER
10   ANGEL SANDOVAL MONDRAGON,

11                                Defendant.

12

13   Offense charged:      Forced Labor and Attempted Forced Labor; Human Trafficking

14   Date of Detention Hearing:   December 11, 2015.

15          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

16   based upon the factual findings and statement of reasons for detention hereafter set forth, finds

17   that no condition or combination of conditions which defendant can meet will reasonably assure

18   the appearance of defendant as required and the safety of other persons and the community.

19           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          1.     Defendant is reportedly a citizen of Mexico.

21          2.     The United States alleges that his presence in this country is illegal. There is an

22   immigration detainer pending against him.

23          3.     Defendant and his counsel offer no opposition to entry of an order of detention.


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 1          4.     Most of the information about defendant’s history, residence, family ties,

 2   employment history and other background is unverified.

 3          5.     Defendant poses a risk of nonappearance due to lack of verified background

 4   information, lack of legal immigration status, and immigration detainer. Defendant poses a risk

 5   of danger due to the nature of the instant offense. There does not appear to be any condition or

 6   combination of conditions that will reasonably assure the defendant’s appearance at future Court

 7   hearings while addressing the danger to other persons or the community.

 8   It is therefore ORDERED:

 9      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

10          General for confinement in a correction facility separate, to the extent practicable, from

11          persons awaiting or serving sentences or being held in custody pending appeal;

12      2. Defendant shall be afforded reasonable opportunity for private consultation with counsel;

13      3. On order of the United States or on request of an attorney for the Government, the person

14          in charge of the corrections facility in which defendant is confined shall deliver the

15          defendant to a United States Marshal for the purpose of an appearance in connection with

16          a court proceeding; and

17      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel for

18          the defendant, to the United States Marshal, and to the United State Pretrial Services

19          Officer.

20          DATED this 11th day of December, 2015.

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22
                                                         A
                                                         Mary Alice Theiler
                                                         United States Magistrate Judge
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